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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

WARNER RECORDS INC., et al.,                       §
                                                   §
                                                   §
              Plaintiffs,                          §
                                                   §
v.                                                 §     Case No. 2:23-cv-00576-JRG-RSP
                                                   §
                                                   §
ALTICE USA, INC. and CSC HOLDINGS, LLC,            §
                                                   §
              Defendants.                          §
                                                   §



                  ____________________________________________________

               PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTION [88]
             TO MAGISTRATE JUDGE’S ORDER [76] DENYING DEFENDANTS’
             MOTION TO TRANSFER VENUE TO THE EASTERN DISTRICT OF
                    NEW YORK PURSUANT TO 28 U.S.C. § 1404(A) [26]
                  ___________________________________________________




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       Plaintiffs respond to Altice USA, Inc. and CSC Holdings, LLC’s (collectively, “Altice”)

Objection (Dkt. 88) to Magistrate Judge Payne’s Order (Dkt. 76) denying Altice’s Motion to

Transfer Venue to the Eastern District of New York Pursuant to 28 U.S.C. § 1404(a) (Dkt. 26).

Altice identifies no clear error in Judge Payne’s decision and its objection should be denied.



 Dated: October 15, 2024                         Respectfully submitted,

                                                  /s/ Jeffrey M. Gould w/permission
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document and all attachments thereto are

being filed electronically in compliance with Local Rule CV-5(a). As such, this document is

being served this October 15, 2024 on all counsel of record, each of whom is deemed to have

consented to electronic service. L.R. CV-5(a)(3)(A).

                                                    /s/ Rudolph Fink IV
                                                    Rudolph Fink IV




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